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   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:15-CR-00300-DAD-BAM-3
12                                Plaintiff,           STIPULATION AND ORDER TO
                                                       CONTINUE SENTENCING HEARING
13                         v.
14   ADAM TORGLER.                                     Date: November 20, 2017
                                                       Time: 10:00 a.m.
15                                Defendant.           Honorable Dale A. Drozd
16

17          The United States of America, by and through PHILLIP A. TALBERT, United States Attorney,

18 and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendant Adam Torgler,

19 by and through his attorney of record John Garland, hereby stipulate to continue the sentencing hearing

20 in this case from November 20, 2017 until November 27, 2017 at 10:00 a.m. The reason for this request

21 is that government counsel will out of the office the week of November 20, 2017.

22 Dated: November 16, 2017                             PHILLIP A. TALBERT
                                                        United States Attorney
23
                                                        /s/ Kathleen A. Servatius
24                                                      KATHLEEN A. SERVATIUS
25                                                      Assistant United States Attorney

26 Dated: November 16, 2017                             /s/ John Garland
                                                        Attorney for Adam Torgler
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          Case 1:15-cr-00300-DAD-BAM Document 158 Filed 11/16/17 Page 2 of 2


 1                                                  ORDER

 2          The court has reviewed and considered the stipulation of the parties to continue the sentencing

 3 in this case. Good cause appearing, the sentencing hearing as to the above named defendant currently

 4 scheduled for November 20, 2017, is continued until November 27, 2017, at 10:00 a.m. in courtroom 5

 5 before District Judge Dale A. Drozd.

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     IT IS SO ORDERED.
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        Dated:    November 16, 2017
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                                                     UNITED STATES DISTRICT JUDGE
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